
30 Mich. App. 258 (1971)
185 N.W.2d 924
PEOPLE
v.
HATFIELD
Docket No. 10163.
Michigan Court of Appeals.
Decided January 28, 1971.
Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, William L. Cahalan, Prosecuting Attorney, Dominick R. Carnovale, Chief, Appellate Department, and Arthur N. Bishop, Assistant Prosecuting Attorney, for the people.
Jeffrey N. Shillman, for defendant on appeal.
Before: J.H. GILLIS, P.J., and FITZGERALD and V.J. BRENNAN, JJ.
*259 PER CURIAM.
Defendant appeals from his conviction upon a plea of guilty to the offense of breaking and entering an office building with intent to commit larceny. MCLA § 750.110 (Stat Ann 1970 Cum Supp § 28.305). Since that was the crime with which he was originally charged, he now claims that the trial judge was obligated to conduct an extraordinary examination under GCR 1963, 785.3(2) to ascertain why defendant was pleading guilty without obtaining some concession from the prosecutor. The people have submitted a motion to affirm his conviction.
The plea transcript discloses that defendant was represented by counsel at the time he entered his plea, that he denied the presence of any promises or threats, and that he affirmatively expressed a desire to plead guilty to the offense with which he was charged. Upon these facts, it is manifest that the issue defendant presents is so unsubstantial as to need no argument or formal submission.
The motion to affirm is granted.
